          Case 21-01645-als11                         Doc 27          Filed 01/12/22 Entered 01/12/22 16:53:35                       Desc Main
                                                                     Document     Page 1 of 41




 Fill in this information to identify the case:

 Debtor name         QHC Mitchellville, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF IOWA

 Case number (if known)         21-01645
                                                                                                                                 Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                 Schedule H: Codebtors (Official Form 206H)

                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 12, 2022                        X /s/ Mark A. Hidlebaugh
                                                                       Signature of individual signing on behalf of debtor

                                                                       Mark A. Hidlebaugh
                                                                       Printed name

                                                                       Authorized, POA
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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               Case 21-01645-als11                         Doc 27      Filed 01/12/22 Entered 01/12/22 16:53:35                                           Desc Main
                                                                      Document     Page 2 of 41

 Fill in this information to identify the case:
 Debtor name QHC Mitchellville, LLC
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF IOWA                                                                                Check if this is an

 Case number (if known):                21-01645                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Iowa Medicaid                   Geri Paul                       Quality Assurance                                                                                      $432,605.29
 Enterprise                                                      Assessment Fees
 PO Box 310280                   geri.paul@dia.iowa
 Des Moines, IA                  .gov
 50331-0280                      515-281-7039
 Camillus Staffing               Wendy Peterson     Staffing          Disputed                                                                                          $252,335.70
 LLC dba Nextaff                                    Agreement
 PO Box 75410                    wpeterson@nextaff
 Chicago, IL                     .com
 60675-5410                      515-325-1575
 Healthcare Services                                Provider for      Disputed                                                                                          $200,000.00
 Group, Inc.                                        dietary,
 3220 Tillman Dr.                800-363-4274       housekeeping and
 Suite 300                                          laundry services.
 Bensalem, PA 19020
 TOTAL NURSES                    Xochitl Brito                                                                                                                          $186,095.58
 NETWORK
 7026 W NORTH                    xochitl@tn-networ
 AVE., SUITE 2W                  ks.com
 CHICAGO, IL 60707               866-502-3990 x5
 911 Restoration of              John Gabriele                   mold mitigation                                                                                        $155,083.44
 Des Moines
 PO Box 548                      john.g@911restora
 Carlisle, IA 50047              tion.com
                                 515-489-0009
 MILLENNIUM                      Hollie Little                                          Disputed                                                                        $121,812.96
 REHAB &
 CONSULTING, INC.                hlittle@millenniumt
 4725 MERLE HAY                  herapy.com
 ROAD, #207                      515-331-3190
 DES MOINES, IA
 50322
 SOLIDCARE                                                                                                                                                                $62,398.70
 STAFFING
 6691 FRIENDSHIP                 563-293-5864
 PATH
 Bettendorf, IA 52722


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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               Case 21-01645-als11                         Doc 27      Filed 01/12/22 Entered 01/12/22 16:53:35                                           Desc Main
                                                                      Document     Page 3 of 41


 Debtor    QHC Mitchellville, LLC                                                                             Case number (if known)         21-01645
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CBS STAFFING,                   Brad Ortmeier                                                                                                                            $43,734.15
 LLC
 7517 DOUGLAS
 AVENUE, #17                     515-334-7471
 URBANDALE, IA
 50322
 ACCESSIBLE                      Marianne Trotter                                                                                                                         $38,147.06
 STAFFING
 PO BOX 13188
 MILWAUKEE, WI                   708-732-5240
 53213-0188
 ABIRACARE,                                                                                                                                                               $36,175.15
 2800 UNIVERSITY
 AVE, STE 198                    515-868-3992
 WEST DES MOINES,
 IA 50266
 JRX PHARMACY                                                                                                                                                             $29,935.04
 SERVICES
 2404 AVE L                      319-372-2300
 FORT MADISON, IA
 52627
 SIGNATURE                       John                                                                                                                                     $28,523.25
 HEALTHCARE LLC
 14225 UNIVERSITY                john@mysighealth.
 AVE, #130                       com
 WAUKEE, IA 50263                515-252-0000
 FAVORITE                        Mick Davis                                                                                                                               $17,878.81
 HEALTHCARE
 STAFFING                        mick.davis@favorit
 PO BOX 26225                    estaffing.com
 OVERLAND PARK,                  913-363-5951
 KS 66225
 Polk County                                                     property taxes                                                                                           $16,936.00
 Treasurer
 111 Court Ave
 Des Moines, IA
 50309-2298
 AEROFUND                        Chelsea Troy                                                                                                                             $11,223.87
 FINANCIAL
 6910 SANTA                      ctroy@aerofund.co
 TERESA BLVD                     m
 SAN JOSE, CA
 95119
 STERICYCLE INC                                                                                                                                                             $9,887.03
 28883 NETWORK
 PLACE
 CHICAGO, IL
 60673-1288
 MCKESSON                                                                                                                                                                   $8,814.42
 PO BOX 630693
 CINCINNATI, OH                  612-545-5757
 45263-0693


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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               Case 21-01645-als11                         Doc 27      Filed 01/12/22 Entered 01/12/22 16:53:35                                           Desc Main
                                                                      Document     Page 4 of 41


 Debtor    QHC Mitchellville, LLC                                                                             Case number (if known)         21-01645
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Amerigroup                                                                                                                                                                 $7,616.86
 4800 Westown Pkwy
 West Des Moines, IA
 50266
 HELPING HANDS                   Hollie De La Garza                                                                                                                         $7,308.96
 NURSING
 SOLUTIONS                       hollie@helpinghan
 1400 RIVER DRIVE,               dsnursingsolutions
 SUITE 300                       .com
 NORTH SIOUX CITY,
 SD 57049
 CENTERS FOR                                                                                                                                                                $6,001.02
 MEDICARE &
 MEDICAID                        202-874-6894
 SERVICES
 US Dept of Health &
 Human Services
 7500 Security Blvd
 Windsor Mill, MD
 21244




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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           Case 21-01645-als11                                    Doc 27             Filed 01/12/22 Entered 01/12/22 16:53:35                                                            Desc Main
                                                                                    Document     Page 5 of 41
 Fill in this information to identify the case:

 Debtor name            QHC Mitchellville, LLC

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF IOWA

 Case number (if known)               21-01645
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $        2,650,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $               7,616.86

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $        2,657,616.86


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $      17,000,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $           449,621.29

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$        1,276,072.30


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $        18,725,693.59




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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           Case 21-01645-als11                        Doc 27          Filed 01/12/22 Entered 01/12/22 16:53:35                           Desc Main
                                                                     Document     Page 6 of 41
 Fill in this information to identify the case:

 Debtor name          QHC Mitchellville, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF IOWA

 Case number (if known)         21-01645
                                                                                                                                  Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                        12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
       Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
            Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                             number
                                                                            Checking - Zero Balance
            3.1.     Lincoln Savings Bank                                   Account                          6640                                           $0.00



                                                                            Checking - Resident
            3.2.     Legacy Bank                                            Trust Account                    9914                                           $0.00




            3.3.     Legacy bank                                            Checking - Activity Fund         8244                                           $0.00



                                                                            Checking - Resident
            3.4.     Lincoln Savings Bank                                   Trust Account                    0285                                           $0.00




            3.5.     Access Bank                                            Trust account                    1800                                           $0.00



 4.         Other cash equivalents (Identify all)

 5.         Total of Part 1.                                                                                                                             $0.00
            Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:           Deposits and Prepayments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                              page 1
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           Case 21-01645-als11                        Doc 27          Filed 01/12/22 Entered 01/12/22 16:53:35                           Desc Main
                                                                     Document     Page 7 of 41
 Debtor         QHC Mitchellville, LLC                                                                 Case number (If known) 21-01645
                Name

6. Does the debtor have any deposits or prepayments?

     No.    Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

     No. Go to Part 4.
     Yes Fill in the information below.
 11.       Accounts receivable
           11a. 90 days old or less:                                 7,616.86    -                                    0.00 = ....                    $7,616.86
                                              face amount                                doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                      $7,616.86
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

     No.    Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

     No. Go to Part 6.
     Yes Fill in the information below.
           General description                        Date of the last               Net book value of          Valuation method used    Current value of
                                                      physical inventory             debtor's interest          for current value        debtor's interest
                                                                                     (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           medical supplies,
           medicines, medical
           equipment; See
           attached list                                                                        Unknown                                              Unknown




 23.       Total of Part 5.                                                                                                                           $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
            No
            Yes
 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
            No
            Yes. Book value                                          Valuation method                               Current Value
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 2
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           Case 21-01645-als11                        Doc 27          Filed 01/12/22 Entered 01/12/22 16:53:35                  Desc Main
                                                                     Document     Page 8 of 41
 Debtor         QHC Mitchellville, LLC                                                        Case number (If known) 21-01645
                Name



 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
            No
            Yes
 Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

     No.    Go to Part 7.
     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

     No. Go to Part 8.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Office Furniture                                                            Unknown                                              Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computer equipment and software; 1 Kyocera
           MFP Copier with Doc Processor and stand
           (leased).                                                                   Unknown                                              Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                      $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
            No
            Yes
 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
            No
            Yes
 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

     No. Go to Part 9.
     Yes Fill in the information below.
           General description                                                Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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           Case 21-01645-als11                        Doc 27          Filed 01/12/22 Entered 01/12/22 16:53:35                   Desc Main
                                                                     Document     Page 9 of 41
 Debtor         QHC Mitchellville, LLC                                                        Case number (If known) 21-01645
                Name



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Leased 2- Dexter 40 lb c-series
           washer/extractor and 1 -Dexter 80 lb reversing
           dryer                                                                       Unknown                                               Unknown




 51.       Total of Part 8.                                                                                                                   $0.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
            No
            Yes
 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes
 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No. Go to Part 10.
     Yes Fill in the information below.
 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 114 Carter St. SW,
                     Mitchellville, IA
                     50169; current value
                     based on 2016
                     appraisal                            Fee simple                        $0.00     Appraisal                         $2,650,000.00




 56.       Total of Part 9.                                                                                                          $2,650,000.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
 58.       Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                          Desc Main
                                                            Document    Page 10 of 41
 Debtor         QHC Mitchellville, LLC                                                       Case number (If known) 21-01645
                Name

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

     No.    Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

     No.    Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 5
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           Case 21-01645-als11                            Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                                   Desc Main
                                                                Document    Page 11 of 41
 Debtor          QHC Mitchellville, LLC                                                                              Case number (If known) 21-01645
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $7,616.86

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                      $2,650,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                                $7,616.86         + 91b.            $2,650,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,657,616.86




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                         Desc Main
                                                            Document    Page 12 of 41
 Fill in this information to identify the case:

 Debtor name          QHC Mitchellville, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF IOWA

 Case number (if known)              21-01645
                                                                                                                                        Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.

 2.1
        Kenneth A. Webb Family
        Trust                                         Describe debtor's property that is subject to a lien            $17,000,000.00                  Unknown
        Creditor's Name                               114 Carter St. SW, Mitchellville, IA; All assets
        c/o Jeff Schneidman, Esq.                     of the company.
        Plattner Schneidman,
        Schneider Jeffries
        9141 E. Hidden Spur Trail
        Scottsdale, AZ 85255
        Creditor's mailing address                    Describe the lien
                                                      Blanket Lien and Mortgage
                                                      Is the creditor an insider or related party?
                                                       No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                         No
        5/1/11                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
         Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative       Disputed
        priority.




                                                                                                                         $17,000,000.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                 00

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 1
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                            Desc Main
                                                            Document    Page 13 of 41
 Fill in this information to identify the case:

 Debtor name         QHC Mitchellville, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF IOWA

 Case number (if known)          21-01645
                                                                                                                                           Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

           No. Go to Part 2.
           Yes. Go to line 2.
       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown          Unknown
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                Contingent
           Philadelphia, PA 19101-7346                                Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Noticing Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       Unknown          Unknown
           Iowa Department of Revenue                                Check all that apply.
           Hoover State Office Building                               Contingent
           PO Box 10471                                               Unliquidated
           Des Moines, IA 50306-0471                                  Disputed
           Date or dates debt was incurred                           Basis for the claim:
                                                                     For Noticing Purposes Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 13
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                                      Desc Main
                                                            Document    Page 14 of 41
 Debtor       QHC Mitchellville, LLC                                                                          Case number (if known)          21-01645
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $432,605.29      $432,605.29
           Iowa Medicaid Enterprise                                  Check all that apply.
           PO Box 310280                                              Contingent
           Des Moines, IA 50331-0280                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           October 2018 - June 30, 2021                              Quality Assurance Assessment Fees
           Last 4 digits of account number 6392                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $80.00    Unknown
           Iowa Workforce Development                                Check all that apply.
           Unemployment Insurance Tax                                 Contingent
           Bureau                                                     Unliquidated
           1000 East Grand Ave.                                       Disputed
           Des Moines, IA 50319
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Worker's compensation
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes

 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                  $16,936.00     $16,936.00
           Polk County Treasurer                                     Check all that apply.
           111 Court Ave                                              Contingent
           Des Moines, IA 50309-2298                                  Unliquidated
                                                                      Disputed
           Date or dates debt was incurred                           Basis for the claim:
           2020 tax year                                             property taxes
           Last 4 digits of account number 8011                      Is the claim subject to offset?

           Specify Code subsection of PRIORITY                        No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                      Yes


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.             $155,083.44
           911 Restoration of Des Moines                                            Contingent
           PO Box 548                                                               Unliquidated
           Carlisle, IA 50047                                                       Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     mold mitigation
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes
 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 $1,350.00
           @ YOUR SERVICE                                                           Contingent
           2661 NE 46TH AVE                                                         Unliquidated
           DES MOINES, IA 50317                                                     Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?    No  Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 2 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 15 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $444.97
          A-1 MEDICAL STAFFING                                                Contingent
          PO BOX 310729                                                       Unliquidated
          DES MOINES, IA 50331-0729                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,175.15
          ABIRACARE,                                                          Contingent
          2800 UNIVERSITY AVE, STE 198                                        Unliquidated
          WEST DES MOINES, IA 50266                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,147.06
          ACCESSIBLE STAFFING                                                 Contingent
          PO BOX 13188                                                        Unliquidated
          MILWAUKEE, WI 53213-0188                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,223.87
          AEROFUND FINANCIAL                                                  Contingent
          6910 SANTA TERESA BLVD                                              Unliquidated
          SAN JOSE, CA 95119                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $130.56
          AFLAC                                                               Contingent
          1932 Wynton Road                                                    Unliquidated
          COLUMBUS, GA 31993-0797                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,616.86
          Amerigroup                                                          Contingent
          4800 Westown Pkwy                                                   Unliquidated
          West Des Moines, IA 50266                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,528.40
          AUREON TECHNOLOGIY                                                  Contingent
          WYNFIELD BUILDING                                                   Unliquidated
          7760 Office Plaza Dr S                                              Disputed
          WEST DES MOINES, IA 50266
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 16 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $270.44
          BANLEACO                                                            Contingent
          PO BOX 7740                                                         Unliquidated
          URBANDALE, IA 50323                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $198.58
          BTX IOWA                                                            Contingent
          3160 8TH STREET SW, STE C                                           Unliquidated
          ALTOONA, IA 50009-1023                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $252,335.70
          Camillus Staffing LLC dba Nextaff                                   Contingent
          PO Box 75410                                                        Unliquidated
          Chicago, IL 60675-5410                                              Disputed
          Date(s) debt was incurred 11/18/20 - 3/25/21
                                                                             Basis for the claim:    Staffing Agreement
          Last 4 digits of account number 738
                                                                             Is the claim subject to offset?    No  Yes
 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $43,734.15
          CBS STAFFING, LLC                                                   Contingent
          7517 DOUGLAS AVENUE, #17                                            Unliquidated
          URBANDALE, IA 50322                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,001.02
          CENTERS FOR MEDICARE & MEDICAID
          SERVICES                                                            Contingent
          US Dept of Health & Human Services                                  Unliquidated
          7500 Security Blvd                                                  Disputed
          Windsor Mill, MD 21244
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $581.22
          CENTURY CONTRACT SERVICES                                           Contingent
          PO BOX 5818                                                         Unliquidated
          CEDAR RAPIDS, IA 52406-5818                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,372.64
          CENTURYLINK COMMUNICATIONS, LLC                                     Contingent
          PO BOX 2956                                                         Unliquidated
          PHOENIX, AZ 85062-2956                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 17 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,959.91
          CITY OF MITCHELLVILLE                                               Contingent
          PO BOX 817                                                          Unliquidated
          MITCHELLVILLE, IA 50169                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $250.00
          City of Mitchellville Fire Dept                                     Contingent
          110 2nd St. NE                                                      Unliquidated
          Mitchellville, IA 50169                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $111.92
          COPY SYSTEMS, INC.                                                  Contingent
          920 E. 21ST STREET                                                  Unliquidated
          DES MOINES, IA 50317                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $155.88
          CORPORATE COURIER SERVICES                                          Contingent
          502 SE SHARON DRIVE                                                 Unliquidated
          ANKENY, IA 50021                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $694.21
          CULLIGAN WATER                                                      Contingent
          111 7TH ST.                                                         Unliquidated
          WEST DES MOINES, IA 50265                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,663.14
          DIRECT SUPPLY                                                       Contingent
          PO BOX 88201                                                        Unliquidated
          MILWAUKEE, WI 53288-0201                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,936.72
          ECOLAB PEST ELIMINATION DIVISION                                    Contingent
          26252 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1262                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 18 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,878.81
          FAVORITE HEALTHCARE STAFFING                                        Contingent
          PO BOX 26225                                                        Unliquidated
          OVERLAND PARK, KS 66225                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,341.07
          GOODWIN TUCKER GROUP                                                Contingent
          PO BOX 3285                                                         Unliquidated
          DES MOINES, IA 50316-0285                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $243.00
          GREAT AMERICA FINANCIAL SERVICES                                    Contingent
          PO BOX 660831                                                       Unliquidated
          DALLAS, TX 75266-0831                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $600.00
          DR. DALE M. GRUNEWALD, D.O.                                         Contingent
          14306 WILDWIND DRIVE                                                Unliquidated
          CLIVE, IA 50325                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $417.55
          GUARDIAN                                                            Contingent
          PO BOX 677458                                                       Unliquidated
          DALLAS, TX 75267-7458                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,385.91
          HAWKEYE/VANGINKEL LAWN & SNOW INC.                                  Contingent
          PO BOX 57369                                                        Unliquidated
          DES MOINES, IA 50317                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $200,000.00
          Healthcare Services Group, Inc.                                     Contingent
          3220 Tillman Dr. Suite 300                                          Unliquidated
          Bensalem, PA 19020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Provider for dietary, housekeeping and laundry
          Last 4 digits of account number                                    services.
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 19 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,308.96
          HELPING HANDS NURSING SOLUTIONS                                     Contingent
          1400 RIVER DRIVE, SUITE 300                                         Unliquidated
          NORTH SIOUX CITY, SD 57049                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $263.18
          HY VEE FOOD STORE # 1011                                            Contingent
          5820 WESTOWN PKWY                                                   Unliquidated
          WEST DES MOINES, IA 50266                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $90.00
          IA ORTHOPAEDIC CENTER                                               Contingent
          450 LAUREL STE A                                                    Unliquidated
          DES MOINES, IA 50314-3045                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $547.67
          INDUSTRIAL CHEM LABS                                                Contingent
          55-G BROOK AVE                                                      Unliquidated
          DEER PARK, NE 11729                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,876.60
          IOWA ENVIRONMENTAL SERVICES, INC.                                   Contingent
          11101 AURORA AVENUE                                                 Unliquidated
          URBANDALE, IA 50322                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,512.87
          IOWA HEALTH CARE ASSOCIATION                                        Contingent
          1775 90TH ST.                                                       Unliquidated
          WEST DES MOINES, IA 50266                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $90.00
          Iowa Orthopaedic Center                                             Contingent
          1601 NW 114th St. #353                                              Unliquidated
          Clive, IA 50325                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 20 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $80.00
          Iowa Workforce Development                                          Contingent
          430 East Grand Avenue                                               Unliquidated
          Des Moines, IA 50309                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $5.00
          ISOLVED BENEFIT SERVICES                                            Contingent
          PO Box 889                                                          Unliquidated
          COLDWATER, MI 49036-0889                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $134.00
          Joy Ride Transport, LLC                                             Contingent
          3105 SE Miehe Drive                                                 Unliquidated
          Grimes, IA 50111                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $29,935.04
          JRX PHARMACY SERVICES                                               Contingent
          2404 AVE L                                                          Unliquidated
          FORT MADISON, IA 52627                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $449.64
          K WHITE ENGINEERING                                                 Contingent
          2815 100th St. #331                                                 Unliquidated
          Urbandale, IA 50322                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $45.00
          KADEL MEDICAL SERVICES                                              Contingent
          PO BOX 551                                                          Unliquidated
          ALTOONA, IA 50009                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,011.27
          LIVING DESIGN                                                       Contingent
          47015 SD HWY 44                                                     Unliquidated
          WORTHING, SD 57077                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 21 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,814.42
          MCKESSON                                                            Contingent
          PO BOX 630693                                                       Unliquidated
          CINCINNATI, OH 45263-0693                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $32.80
          MEDLINE INDUSTRIES INC                                              Contingent
          DEPT CH 14400                                                       Unliquidated
          PALATINE, IL 60055-4400                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $625.54
          MENARDS                                                             Contingent
          Attn: Legal Dept                                                    Unliquidated
          4777 Menard Dr.                                                     Disputed
          Eau Claire, WI 54703-9604
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9897                         Is the claim subject to offset?    No  Yes
 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,548.47
          MID AMERICAN ENERGY                                                 Contingent
          PO BOX 8020                                                         Unliquidated
          DAVENPORT, IA 52808-8020                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,774.13
          MIDWEST MEDICAL TRANSPORT                                           Contingent
          COMPANY, LLC                                                        Unliquidated
          2155 33RD AVENUE                                                    Disputed
          COLUMBUS, NE 68601
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?    No  Yes
 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $121,812.96
          MILLENNIUM REHAB & CONSULTING, INC.                                 Contingent
          4725 MERLE HAY ROAD, #207                                           Unliquidated
          DES MOINES, IA 50322                                                Disputed
          Date(s) debt was incurred 2/1/03
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $150.00
          NATIONWIDE                                                          Contingent
          PO BOX 10479                                                        Unliquidated
          DES MOINES, IA 50306-0479                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 22 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $281.00
          OCCUPATIONAL HEALTH CENTERS                                         Contingent
          PO BOX 75427                                                        Unliquidated
          OKLAHOMA CITY, OK 73147-0427                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $905.25
          PAC-VAN, INC.                                                       Contingent
          75 REMITTANCE DRIVE, SUITE 3300                                     Unliquidated
          CHICAGO, IL 60675-3300                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,701.84
          PHARMERICA                                                          Contingent
          PO BOX 409251                                                       Unliquidated
          ATLANTA, GA 30384-9251                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,554.68
          POINTCLICKCARE TECHNOLOGIES INC.                                    Contingent
          PO BOX 674802                                                       Unliquidated
          DETROIT, MI 48267-4802                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $665.41
          PROVIDERS PLUS                                                      Contingent
          1519 N 51ST STREET                                                  Unliquidated
          OMAHA, NE 68104-5008                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $727.60
          RAINSOFT OF DES MOINES                                              Contingent
          2501 Martin Luther King Pkwy                                        Unliquidated
          DES MOINES, IA 50310                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $400.00
          RNL SERVICES LLC                                                    Contingent
          PO BOX 656                                                          Unliquidated
          KNOXVILLE, IA 50138                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 13
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 23 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $498.48
          SHRED-IT                                                            Contingent
          28883 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1288                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $28,523.25
          SIGNATURE HEALTHCARE LLC                                            Contingent
          14225 UNIVERSITY AVE, #130                                          Unliquidated
          WAUKEE, IA 50263                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $1.93
          SMITHS SEWER SERVICE INC                                            Contingent
          PO BOX 351                                                          Unliquidated
          JOHNSTON, IA 50131                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,398.70
          SOLIDCARE STAFFING                                                  Contingent
          6691 FRIENDSHIP PATH                                                Unliquidated
          Bettendorf, IA 52722                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $773.84
          STANLEY HEALTHCARE SOLUTIONS                                        Contingent
          DEPT CH 10504                                                       Unliquidated
          PALATINE, IL 60055-0504                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,887.03
          STERICYCLE INC                                                      Contingent
          28883 NETWORK PLACE                                                 Unliquidated
          CHICAGO, IL 60673-1288                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $722.26
          STOREY KENWORTHY                                                    Contingent
          309 LOCUST STREET                                                   Unliquidated
          DES MOINES, IA 50309-1788                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 13
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                              Desc Main
                                                            Document    Page 24 of 41
 Debtor       QHC Mitchellville, LLC                                                                  Case number (if known)            21-01645
              Name

 3.66      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.           $186,095.58
           TOTAL NURSES NETWORK                                               Contingent
           7026 W NORTH AVE., SUITE 2W                                        Unliquidated
           CHICAGO, IL 60707                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.67      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $939.20
           UNITED RENTALS                                                     Contingent
           PO BOX 840514                                                      Unliquidated
           DALLAS, TX 76284                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.68      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $50.00
           UNITY POINT HEALTH                                                 Contingent
           PO BOX 83381                                                       Unliquidated
           CHICAGO, IL 60691-0381                                             Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.69      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,261.72
           UNITYPOINT AT HOME                                                 Contingent
           PO BOX 26786                                                       Unliquidated
           SALT LAKE CITY, UT 84126-0786                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.70      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $6.42
           VALLEY WEST UNIFORMS                                               Contingent
           4100 UNIVERSITY AVE, SUITE 230                                     Unliquidated
           WEST DES MOINES, IA 50266                                          Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes
 3.71      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,479.63
           WASTE MANAGEMENT OF IOWA                                           Contingent
           c/o CT Corporation System                                          Unliquidated
           400 E. Court Ave                                                   Disputed
           Des Moines, IA 50309
                                                                             Basis for the claim:
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?    No  Yes
 3.72      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,258.75
           WELLMARK BCBS                                                      Contingent
           PO BOX 14456                                                       Unliquidated
           DES MOINES, IA 50306                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 12 of 13
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                          Desc Main
                                                            Document    Page 25 of 41
 Debtor       QHC Mitchellville, LLC                                                             Case number (if known)            21-01645
              Name

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                              On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                 related creditor (if any) listed?              account number, if
                                                                                                                                                any
 4.1       Centers for Medicare & Medicaid Svcs
           Attn: Marsophia Powers                                                                Line      2.3
           601 E. 12th St., Room 235
           Kansas City, MO 64106                                                                       Not listed. Explain


 4.2       Helping Hands Nursing Solutions
           4300 S. Lakeport St. Suite 106                                                        Line      3.31
           Sioux City, IA 51106-4934
                                                                                                       Not listed. Explain

 4.3       Iowa Dept of Inspections & Appeals
           Attn: Dawn Fisk                                                                       Line      2.3
           321 East 12th St.
           Des Moines, IA 50319                                                                        Not listed. Explain


 4.4       Iowa Medicaid Enterprise
           Attn: Elizabeth Matney                                                                Line      2.3
           1305 E. Walnut St.
           Des Moines, IA 50319                                                                        Not listed. Explain


 4.5       Robert C. Gainer, Esq.
           Cutler Law Firm                                                                       Line      3.12
           1307 50th St.
           West Des Moines, IA 50266                                                                   Not listed. Explain


 4.6       Stanley Healthcare Solutions
           75 Portsmouth Blvd #220                                                               Line      3.63
           Portsmouth, NH 03801
                                                                                                       Not listed. Explain


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
 5a. Total claims from Part 1                                                                        5a.          $                    449,621.29
 5b. Total claims from Part 2                                                                        5b.    +     $                  1,276,072.30
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                             5c.          $                    1,725,693.59




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 13
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                               Desc Main
                                                            Document    Page 26 of 41
 Fill in this information to identify the case:

 Debtor name         QHC Mitchellville, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF IOWA

 Case number (if known)         21-01645
                                                                                                                                Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.      Does the debtor have any executory contracts or unexpired leases?
         No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal             Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.         State what the contract or                  Staffing Agreement
              lease is for and the nature of
              the debtor's interest

                  State the term remaining
                                                                                       ABIRACARE,
              List the contract number of any                                          2800 UNIVERSITY AVE, STE 198
                    government contract                                                WEST DES MOINES, IA 50266


 2.2.         State what the contract or                  1 Kyocera MFP with
              lease is for and the nature of              doc processor & stand
              the debtor's interest

                  State the term remaining
                                                                                       Banleaco, Inc.
              List the contract number of any                                          PO box 7740
                    government contract                                                Urbandale, IA 50323


 2.3.         State what the contract or                  2 Dexter 40-lb Series
              lease is for and the nature of              Washer/Extractor; 1
              the debtor's interest                       Dexter 80-lb Reversing
                                                          Dryer
                  State the term remaining
                                                                                       Century Contract Services, Inc.
              List the contract number of any                                          775 Kacena Rd.
                    government contract                                                Hiawatha, IA 52233


 2.4.         State what the contract or                  Nursing Home Medical
              lease is for and the nature of              Director Agreement
              the debtor's interest

                  State the term remaining
                                                                                       Dr. Dale M. Grunewald D.O.
              List the contract number of any                                          230 S. 68th St. Suite 1203
                    government contract                                                West Des Moines, IA 50266




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 3
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                             Desc Main
                                                            Document    Page 27 of 41
 Debtor 1 QHC Mitchellville, LLC                                                              Case number (if known)   21-01645
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.5.        State what the contract or                   Construction work
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining                                            Final Call Restoration, LLC
                                                                                      dba 911 Restoration of Des Moines
             List the contract number of any                                          808 SW Cherry St. Suite 102
                   government contract                                                Ankeny, IA 50023


 2.6.        State what the contract or                   Weekly mowing service
             lease is for and the nature of               contract
             the debtor's interest

                  State the term remaining
                                                                                      HVG Lawn & Snow
             List the contract number of any                                          PO Box 57369
                   government contract                                                Des Moines, IA 50317


 2.7.        State what the contract or                   Non-emergency
             lease is for and the nature of               Transportation
             the debtor's interest                        Services Agreement

                  State the term remaining
                                                                                      Joy Ride Transport
             List the contract number of any                                          3105 SE Miehe Dr.
                   government contract                                                Grimes, IA 50111


 2.8.        State what the contract or                   Professional Services
             lease is for and the nature of               Agreement
             the debtor's interest

                  State the term remaining                                            KareFirst Management Corp
                                                                                      Attn: Kimberly Wilson, President
             List the contract number of any                                          5132 E. Elston Ave
                   government contract                                                Chicago, IL 60630


 2.9.        State what the contract or                   Staffing Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Maxim Healthcare Servicers
             List the contract number of any                                          9239 West Center Rd.
                   government contract                                                Omaha, NE 68124


 2.10.       State what the contract or                   Outpatient Dialysis
             lease is for and the nature of               Services Coordination
             the debtor's interest                        Agreement

                  State the term remaining                                            RCG Mercy Des Moines, LLC
                                                                                      920 Winter St.
             List the contract number of any                                          Waltham, MA 02451
Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 3
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                               Desc Main
                                                            Document    Page 28 of 41
 Debtor 1 QHC Mitchellville, LLC                                                                Case number (if known)   21-01645
              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

                    government contract


 2.11.       State what the contract or                   Staffing Agreement
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        SOLIDCARE STAFFING
             List the contract number of any                                            6691 FRIENDSHIP PATH
                   government contract                                                  Bettendorf, IA 52722


 2.12.       State what the contract or                   Subscription Service
             lease is for and the nature of               Agreement for a
             the debtor's interest                        website designed to
                                                          maintain patient/client
                                                          recordc                       Wescom Solutions, Inc.
                  State the term remaining                                              dba PointClickCare.com
                                                                                        6975 Creditview Rd. Unit 4
             List the contract number of any                                            Mississauga, Ontario L5N 8E9
                   government contract                                                  CANADA




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 3 of 3
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                           Desc Main
                                                            Document    Page 29 of 41
 Fill in this information to identify the case:

 Debtor name         QHC Mitchellville, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF IOWA

 Case number (if known)         21-01645
                                                                                                                           Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

  No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                  Name                            Check all schedules
                                                                                                                                that apply:

    2.1      Crestridge, Inc.                  1015 Wesley Dr.                                  Kenneth A. Webb                 D       2.1
                                               Maquoketa, IA 52060                              Family Trust                     E/F
                                                                                                                                G



    2.2      Crestview Acres,                  1485 Grand Ave                                   Kenneth A. Webb                 D       2.1
             Inc.                              Marion, IA 52302                                 Family Trust                     E/F
                                                                                                                                G



    2.3      Nancy A. Voyna                    8350 Hickman Rd. Suite 15                        Kenneth A. Webb                 D       2.1
                                               Clive, IA 50325                                  Family Trust                     E/F
                                                                                                                                G



    2.4      QHC Facilities,                   8350 Hickman Rd. Suite 15                        Kenneth A. Webb                 D       2.1
             LLC                               Clive, IA 50325                                  Family Trust                     E/F
                                                                                                                                G



    2.5      QHC Fort Dodge                    2721 10th Ave North                              Kenneth A. Webb                 D       2.1
             Villa, LLC                        Fort Dodge, IA 50501                             Family Trust                     E/F
                                                                                                                                G




Official Form 206H                                                         Schedule H: Your Codebtors                                        Page 1 of 2
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                          Desc Main
                                                            Document    Page 30 of 41
 Debtor       QHC Mitchellville, LLC                                                       Case number (if known)   21-01645


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      QHC Humboldt                      1111 11th Ave North                              Kenneth A. Webb                D       2.1
             North, LLC                        Humboldt, IA 50548                               Family Trust                    E/F
                                                                                                                               G



    2.7      QHC Humbolt                       800 13th St. South                               Kenneth A. Webb                D       2.1
             South LLC                         Humboldt, IA 50548                               Family Trust                    E/F
                                                                                                                               G



    2.8      QHC Madison                       209 W. Jefferson St.                             Kenneth A. Webb                D       2.1
             Square, LLC                       Winterset, IA 50273                              Family Trust                    E/F
                                                                                                                               G



    2.9      QHC                               8350 Hickman Rd. Suite 15                        Kenneth A. Webb                D       2.1
             Management,                       Clive, IA 50325                                  Family Trust                    E/F
             LLC
                                                                                                                               G



    2.10     QHC Villa                         925 Martin Luther King Dr.                       Kenneth A. Webb                D       2.1
             Cottages, LLC                     Fort Dodge, IA 50501                             Family Trust                    E/F
                                                                                                                               G



    2.11     QHC Winterset                     411 East Lane St.                                Kenneth A. Webb                D       2.1
             North, LLC                        Winterset, IA 50273                              Family Trust                    E/F
                                                                                                                               G




Official Form 206H                                                          Schedule H: Your Codebtors                                     Page 2 of 2
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                       Desc Main
                                                            Document    Page 31 of 41



 Fill in this information to identify the case:

 Debtor name         QHC Mitchellville, LLC

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF IOWA

 Case number (if known)         21-01645
                                                                                                                                        Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                       04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

       None.
       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                    Operating a business                                   Unknown
       From 1/01/2021 to Filing Date
                                                                                                Other


       For prior year:                                                                          Operating a business                              $2,783,444.00
       From 1/01/2020 to 12/31/2020
                                                                                                Other


       For year before that:                                                                    Operating a business                              $2,160,581.00
       From 1/01/2019 to 12/31/2019
                                                                                                Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

       None.
                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

       None.
       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                        Desc Main
                                                            Document    Page 32 of 41
 Debtor       QHC Mitchellville, LLC                                                                    Case number (if known) 21-01645



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               911 Restoration of Des Moines                               9/29/21-12/24                    $26,000.00          Secured debt
               PO Box 548                                                  /21                                                  Unsecured loan repayments
               Carlisle, IA 50047                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other construction/mold
                                                                                                                               remediation

       3.2.
               ABIRACARE,                                                  9/29/21-12/17                    $54,788.51          Secured debt
               2800 UNIVERSITY AVE, STE 198                                /21                                                  Unsecured loan repayments
               WEST DES MOINES, IA 50266                                                                                        Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.3.
               ACCESSIBLE STAFFING                                         10/25/21-12/2                    $55,596.63          Secured debt
               PO BOX 13188                                                1/21                                                 Unsecured loan repayments
               MILWAUKEE, WI 53213-0188                                                                                         Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.4.
               AEROFUND FINANCIAL                                          10/18/21-12/1                    $25,162.63          Secured debt
               6910 SANTA TERESA BLVD                                      0/21                                                 Unsecured loan repayments
               SAN JOSE, CA 95119                                                                                               Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.5.
               CBS STAFFING, LLC                                           11/18/21                           $9,522.75         Secured debt
               7517 DOUGLAS AVENUE, #17                                                                                         Unsecured loan repayments
               URBANDALE, IA 50322                                                                                              Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.6.
               CENTERS FOR MEDICARE &                                      9/29/21-12/22                    $18,003.06          Secured debt
               MEDICAID SERVICES                                           /21                                                  Unsecured loan repayments
               US Dept of Health & Human Services                                                                               Suppliers or vendors
               7500 Security Blvd                                                                                               Services
               Windsor Mill, MD 21244
                                                                                                                                Other   fines

       3.7.
               CITY OF MITCHELLVILLE                                       10/6/21-12/8/                      $9,104.19         Secured debt
               PO BOX 817                                                  21                                                   Unsecured loan repayments
               MITCHELLVILLE, IA 50169                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.8.
               FAVORITE HEALTHCARE STAFFING                                10/15/21-12/2                    $22,846.51          Secured debt
               PO BOX 26225                                                2/21                                                 Unsecured loan repayments
               OVERLAND PARK, KS 66225                                                                                          Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 2
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                       Desc Main
                                                            Document    Page 33 of 41
 Debtor       QHC Mitchellville, LLC                                                                    Case number (if known) 21-01645



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.9.
               HELPING HANDS NURSING                                       10/18/21-12/2                   $107,710.00          Secured debt
               SOLUTIONS                                                   1/21                                                 Unsecured loan repayments
               1400 RIVER DRIVE, SUITE 300                                                                                      Suppliers or vendors
               NORTH SIOUX CITY, SD 57049
                                                                                                                                Services
                                                                                                                                Other

       3.10
       .    MILLENNIUM REHAB & CONSULTING,                                 12/10/21                         $10,270.82          Secured debt
               INC.                                                                                                             Unsecured loan repayments
               4725 MERLE HAY ROAD, #207                                                                                        Suppliers or vendors
               DES MOINES, IA 50322                                                                                             Services
                                                                                                                                Other

       3.11
       .    SIGNATURE HEALTHCARE LLC                                       10/13/21                         $12,032.00          Secured debt
               14225 UNIVERSITY AVE, #130                                                                                       Unsecured loan repayments
               WAUKEE, IA 50263                                                                                                 Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.12
       .    SOLIDCARE STAFFING                                             11/18/21 -                       $57,137.00          Secured debt
               6691 FRIENDSHIP PATH                                        12/13/21                                             Unsecured loan repayments
               Bettendorf, IA 52722                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.13
       .    TOTAL NURSES NETWORK                                           11/19/21                         $44,817.48          Secured debt
               7026 W NORTH AVE., SUITE 2W                                                                                      Unsecured loan repayments
               CHICAGO, IL 60707                                                                                                Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other

       3.14
       .    WELLMARK BCBS                                                  10/15/21-12/2                    $10,589.07          Secured debt
               PO BOX 14456                                                0/21                                                 Unsecured loan repayments
               DES MOINES, IA 50306                                                                                             Suppliers or vendors
                                                                                                                                Services
                                                                                                                                Other


4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

       None.
       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 3
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                            Desc Main
                                                            Document    Page 34 of 41
 Debtor       QHC Mitchellville, LLC                                                                    Case number (if known) 21-01645



       None
       Creditor's name and address                               Describe of the Property                                      Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

       None
       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

       None.
               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Millenium Rehab and                               Contract/Debt              Polk County Clerk of Court                   Pending
               Consulting v. QHC Facilities                      Collection                 RE: LACL151779                             On appeal
               LLC et al                                                                    Polk County Courthouse
                                                                                                                                       Concluded
               LACL151779                                                                   500 Mulberry St.
                                                                                            Des Moines, IA 50309-4238

       7.2.    Camillus Staffing, LLC d/b/a                      debt collection for        Polk County Clerk of Court                   Pending
               Nextaff v. QHC Management                         staffing                   RE: LACL150417                             On appeal
               LLC et al                                                                    Polk County Courthouse
                                                                                                                                       Concluded
               LACL150417                                                                   500 Mulberry St.
                                                                                            Des Moines, IA 50309-4238


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       None

 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

       None
               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

       None




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 4
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                         Desc Main
                                                            Document    Page 35 of 41
 Debtor        QHC Mitchellville, LLC                                                                       Case number (if known) 21-01645



       Description of the property lost and                      Amount of payments received for the loss                 Dates of loss         Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

       None.
                 Who was paid or who received                        If not money, describe any property transferred           Dates             Total amount or
                 the transfer?                                                                                                                            value
                 Address
       11.1.     Bradshaw, Fowler, Proctor &
                 Fairgrave PC
                 801 Grand Ave Suite 3711
                 Des Moines, IA 50309                                                                                          12/24/2021              $2,500.00

                 Email or website address
                 bradshawlaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

       None.
       Name of trust or device                                       Describe any property transferred                  Dates transfers          Total amount or
                                                                                                                        were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

       None.
                Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange              was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


       Does not apply
                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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           Case 21-01645-als11                        Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                      Desc Main
                                                            Document    Page 36 of 41
 Debtor        QHC Mitchellville, LLC                                                                   Case number (if known) 21-01645



    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

       No. Go to Part 9.
           Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services         If debtor provides meals
                                                                 the debtor provides                                                  and housing, number of
                                                                                                                                      patients in debtor’s care
       15.1.     Mitchell Village Care Center                    Skilled Nursing Facility                                             65
                 114 Carter St. SW
                 Mitchellville, IA 50169
                                                                 Location where patient records are maintained (if different from     How are records kept?
                                                                 facility address). If electronic, identify any service provider.
                                                                 114 Carter St. SW, Mitchellville, IA 50169                           Check all that apply:

                                                                                                                                       Electronically
                                                                                                                                       Paper

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

       No.
           Yes. State the nature of the information collected and retained.

                  Medical information, financial information, family/next of kin
                  information
                  Does the debtor have a privacy policy about that information?
                   No
                   Yes
17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

       No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                     No Go to Part 10.
                     Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    QHC Facilities, LLC 401(k) Plan                                                            EIN: XX-XXXXXXX

                    Has the plan been terminated?
                     No
                     Yes

 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

       None
                 Financial Institution name and                  Last 4 digits of         Type of account or          Date account was             Last balance
                 Address                                         account number           instrument                  closed, sold,            before closing or
                                                                                                                      moved, or                         transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                     Desc Main
                                                            Document    Page 37 of 41
 Debtor      QHC Mitchellville, LLC                                                                     Case number (if known) 21-01645



    case.


       None
       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


       None
       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

     None
       Owner's name and address                                      Location of the property             Describe the property                            Value
       Residents of Mitchellville Care Center                        Legacy Bank                          Residents' Trust account                   Unknown
       114 Carter St. SW                                             215 Center Ave South                 ending in 9914
       Mitchellville, IA 50169                                       Mitchellville, IA 50169

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Residents of Mitchellville Care Center                        Lincoln Savings Bank                 Residents Trust Account                    Unknown
       114 Carter St. SW                                             PO Box E                             ending in 0285
       Mitchellville, IA 50169                                       Reinbeck, IA 50669

       Owner's name and address                                      Location of the property             Describe the property                            Value
       Residents of Mitchellville Care Center                        Access Bank                          Residents' Trust Account                   Unknown
       114 Carter St. SW                                             8712 West Dodge Rd.                  ending in 1800
       Mitchellville, IA 50169                                       Omaha, NE 68114


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
       Yes. Provide details below.
       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 7
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                            Desc Main
                                                            Document    Page 38 of 41
 Debtor      QHC Mitchellville, LLC                                                                     Case number (if known) 21-01645



    environmental law?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
       Yes. Provide details below.
       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

       None
    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
          None
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       McGowan Hurst Clark & Smith, PC                                                                                            2020 to the present
                    c/o Dan Schwarz, CPA
                    1601 West Lakes Pkwy, Suite 300
                    West Des Moines, IA 50266

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       McGowan Hurst Clark & Smith, PC
                    c/o Dan Schwarz, CPA
                    1601 West Lakes Pkwy, Suite 300
                    West Des Moines, IA 50266

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
       Name and address



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 8
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                      Desc Main
                                                            Document    Page 39 of 41
 Debtor      QHC Mitchellville, LLC                                                                     Case number (if known) 21-01645



       Name and address
       26d.1.  Lincoln Savings Bank
                    Ankeny Office
                    1375 SW State St.
                    Ankeny, IA 50023

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
       Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                           Date of inventory       The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nancy Voyna                                    8350 Hickman Rd. Suite 15                           Owner, managing member                100%
                                                      Des Moines, IA



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


       No
           Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Jerry W. Voyna (Deceased)                      8350 Hickman Rd. Suite 15                           Managing Member now               June 2008 to June
                                                      Clive, IA 50325                                     Deceased                          10, 2021 (date of
                                                                                                                                            death)

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
       Yes. Identify below.
               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
       Yes. Identify below.
    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
       Yes. Identify below.
    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                     Desc Main
                                                            Document    Page 40 of 41
 Debtor      QHC Mitchellville, LLC                                                                     Case number (if known) 21-01645




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         January 12, 2022

 /s/ Mark A. Hidlebaugh                                                 Mark A. Hidlebaugh
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized, POA

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 10
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          Case 21-01645-als11                         Doc 27 Filed 01/12/22 Entered 01/12/22 16:53:35                                          Desc Main
                                                            Document    Page 41 of 41
                                                               United States Bankruptcy Court
                                                                       Southern District of Iowa
 In re      QHC Mitchellville, LLC                                                                                    Case No.       21-01645
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Nancy A. Voyna                                                                       100                                        Managing Member
 8350 Hickman Road, Suite 15
 Clive, IA 50325


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Authorized, POA of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date January 12, 2022                                                       Signature /s/ Mark A. Hidlebaugh
                                                                                            Mark A. Hidlebaugh

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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